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      ~AO    245C (Rev. 12/03) Amended Judgment in a Criminal Case                                                                     (NOTE: Identify Changes with Asterisks (*))
           NCED   Sheet 1



                                                    UNITED STATES DISTRICT COURT
                                     Eastern                                          District of                                   North Carolina

                  UNITED STATES OF AMERICA                                                       AMENDED JUDGMENT IN A CRIMINAL CASE
                                        v.
                              Tron Lakey Davis                                                   Case Number: 4:13-CR-6-180
                                                                                                 USM Number: 57361-056
      Date of Original Judgment:                   11/15/2013                                    Raymond C. Tarlton
      (Or Date of Last Amended Judgment)                                                         Defendant's Attorney     .
                                                                                                                        Bnan Geoffrey Hulse; Glenn A. Barfield
      Reason for Amendment:
      '!i(correction of Sentence on Remand (18 U.S.C. 3742(f)(l) and (2))                        D   Modification of Supervision Conditions (18 U.S.C. §§ 3563(c) or 3583(e))
     ;D    Reduction of Sentence for Changed Circumstances (Fed. R Crim.                         D   Modification oflmposed Term oflmprisonment for Extraordinary and
           P. 35(b))                                                                                 Compelling Reasons (18 U.S.C. § 3582(c)(l))
      D    Correction ofSentem;e by Sentencing Court (Fed. R. Crim. P. 35(a))                    D   Modification oflmposed. Term oflmprisonment for Retroactive Amendment(s)
                                                                                                     to the Sentencing Guidelines (18 U.S.C. § 3582(c)(2))
      D    Correction of Sentence for Clerical Mistake (Fed. R. Crim. P. 36)
                                                                                                Q    Direct Motion to District Court Pursuant   D   28 U.S.C. § 2255 or
                                                                                                     D 18 U.S.C. § 3559(c)(7)
                                                                                                 D   Modification of Restitution Order (18 U.S.C. § 3664)

     Tij:E DEFENDANT:
     !il    pleaded guilty to count(s)          6 and 7 of the Indictment
     O . pleaded nolo contendere to count(s).
         which was accepted by the court.
      D'
      I
         was  found guilty on count(s)
     y   after a plea ofnot guilty.
     The defendant is adjudicated guilty of these offenses:
     Title & Section                         Nature of Offense                                                                    Offense Ended
       21U.S.C.§841(a)(1)                            Distribution of a Quantity of Marijuana.                                            August 17, 2012             6
       18 U.S.C. § 924(c)(1)(A)                      Use and Carry a Firearm During and in Relation to a Drug Trafficking                August 17, 2012
                                                                                                                                                                     7
                                                     Offense.


            The defendant is sentenced as provided in pages 2 through                        6
     the Sentencing Reform Act of 1984.                                                    --- - - of this judgment.             The sentence is imposed pursuant to

     D The defendant has been found not guilty on count(s)
     ~ Count(s)           1 th 5 and 8 of the Indictment                D      is   lt'are dismissed on the motion of the United States.
      •.       It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any change ofname, residence;
      or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
     'the defenaant must notify the court and United States attorney of material changes in economic circumstances.
                                                                                      6/1/2017
                                                                                      Date oflmposition ofJudgment



                                                                                                Signature of Judge
                                                                                                                                       w.
                                                                                                Terrence W. Boyle
                                                                                                Name of Judge                                   Title of Judge
                                                                                                6/1/2017
                                                                                                Date




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 AO 245C      (Rev. 12/03) Amended Judgment in a Criminal Case
 NCED         Sheet 2 - Imprisonment                                                                (NOTE: Identify Changes with Asterisks(*))

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                                                                 IMPRISONMENT

      The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
 total term of
Count 6 • 60 months.
Count 7 • 240 months and shall run consecutive to Count 6.
The defendant shall receive credit for time served.


 ·o     The court makes the following recommendations to the Bureau of Prisons:




 ri/    The defendant is remanded to the custody of the United States Marshal.

 D The defendant shall surrender to the United States Marshal for this district:
        D     at                                      D      a.m   D    p.m.   on
        D     as notified by the United States Marshal.

·D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
        D     before 2 p.m. on
        D     as notified by the United States Marshal.

        D    as notified by the Probation or Pretrial Services Office.



                                                                       RETURN
 I have executed this judgment as follows:




        Defendant delivered on                                                      to

 a t - - - - - - - - - - - - - - - - with a certified copy of this judgment.



                                                                                            UNITED STATES MARSHAL



                                                                           By--------------------~
                                                                                         DEPUTY UNITED STATES MARSHAL




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AO 245C        (Rev. 12/03) Amended Judgment in a Criminal Case
    NCED       Sheet 3 - Supervised Release
                                                                                                            Judgment-Page _ _ _ of
DEFENDANT: Tron Lakey Davis
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                                                             SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:

    Count 6 - 3 years. Count 7 - 5 years concurrent with Count 6.



     The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Pnsons.
The defendant shall not commit another federal, state or local crime.
  Tbe defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
  substance. The defendant shall submit to one drug test within 15 days ofrelease from imprisonment ana at least two periodic drug tests
, thereafter, as determined by the court.
D         The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
          future substance abuse. (Check, if applicable.)
fiZ1' The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
~ The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
D         The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
          student, as directed by the probation officer. (Check, if applicable.)
0         The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
    If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
S9hedule of Payments slieet of this judgment.
    ;     The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
. OI} the attached page.

                                           STANDARD CONDITIONS OF SUPERVISION
    1)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
    2)     the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
           each month;
    3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
    4)     the defendant shall support his or her dependents and meet other family responsibilities;
    5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons;
  .6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
    .7)    the defendant shall refrain from0excessive         n
                                                           any use of alcohol and shall not purchase, possess? use, distribute, or administer
           any controlled substance or any paraphernaliafetated to any controlled substances, except as prescnbed by a physician;
    8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
    9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
           felony, unless granted permission to do so by the probation officer;
 10)       the defendant shall permit a probation officer to visit him 6r her at any time at home or elsewhere and shall permit confiscation of any
           contraband observe(! in plain view of the probation officer;
 11)       the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)        the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          , permission of the court; and
 13)       as directed by the probation officer, the defendant shall notify third parties ofrisks that may be occasioned by the defendant's criminal
           record or ~ersona1 history or characteristics and shall permit the probation officer to make such notifications and to confirm the
           defendant s compliance with such notification requirement.




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     A0245C     (Rev. 12/03) Amended Judgment in a Criminal Case
      NCED      Sheet 3B - Supervised Release                                                     (NOTE: Identify Changes with Asterisks(*))

                                                                                                Judgment-Page   _4_        of        6
     DEFENDANT: Tron Lakey Davis
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                             ADDITIONAL STANDARD CONDITIONS OF SUPERVISION
     The defendant shall not incur new credit charges or open additional lines of credit without the approval of the probation
     office.

     The defendant shall provide the probation office with access to any requested financial information.

     The defendant shall consent to a warrantless search by a United States Probation Officer or, at the request of the
     probation officer, any other law enforcement officer, of the defendant's person and premises, including any vehicle, to
     determine compliance with the conditions of this judgment.

     The defendant shall support the defendant's dependents and meet other family responsibilities.




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AO 245C    (Rev. 12/03) Amended Judgment in a Criminal Case
 NCED      Sheet 5 - Criminal Monetary Penalties                                                                      (NOTE: Identify Changes with Asterisks{*))

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                                                                                                                            Page _ _                    6
DEFENDANT: ,Tron Lakey Davis
CASE NUMBER: 4:13-CR-6-180
                                            CRIMINAL MONETARY PENALTIES
    The defendant must pay the following total criminal monetary penalties under the schedule of payments on Sheet 6.
                     Assessment                                                                                       Restitution
TOTALS            $ 200.00                                               $                                        $


DD The determination of restitution is deferred until------ .                          An Amended Judgment in a Criminal Case (AO 245C) will be
     entered after such determination.
                                            1
D   The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.

    If the defendant makes a partial payment, each payee shall receive an approximately Qroportioned payment, unless specified otherwise
    in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
    before the United States is paid.

Name of Payee                                                        Total Loss*                       Restitution Ordered        Priority or Percentage




TOTALS                                                               $                          0.00    $                  0.00
D    Restitution amount ordered pursuant to plea agreement $
                                                                             ~---------

D    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(t). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

D    The court determined that the defendant does not have the ability to pay interest, and it is ordered that:

     D    the interest requirement is waived for       D      fine           D   restitution.

     D    the interest requirement for          D    fine       D        restitution is modified as follows:



*Findings for the total amount oflosses are required under Chapters 109A, 110, l lOA, and l 13A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.




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     AO 245C      (Rev. 12/03) Amended Judgment in a Criminal Case
         NCED     Sheet 6 - Schedule of Payments                                                               (NOTE: Identify Changes with Asterisks (*))

                                                                                                            Judgment -   Page   _6__     of         6
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                                                          SCHEDULE OF PAYMENTS

     Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties shall be due as follows:

     A      D   Lump sum payment of$ - - - - - - - due immediately, balance due

                 D   not later than                                      , or
                 D   in accordance with D        C,     D D,         D   E,or    D F below; or

     B      D   Payment to begin immediately (may be combined with              D C,      DD, or     OF below); or

     C     D    Payment in equal                  (e.g., weekly, monthly, quarterly) installments of $                      over a period of
                            (e.g., months or years), to commence                (e.g., 30 or 60 days) after the date of this judgment; or

     D      D   Payment in equal                   (e.g., weekly, monthly, quarterly) installments of $                  over a period of
                             (e.g., months or years), to commence                (e.g., 30 or 60 days) after release from imprisonment to a
                term of supervision; or

     E      D   Payment during the term of supervised release will commence within               (e.g., 3 0 or 60 days) after release from
                imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

     F      ~ Special instructions regarding the payment of criminal monetary penalties:

                Payment of the special assessment shall be due immediately.




     Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
     during the period of imprisonment. All criminal monetary Renalties, except those payments made through the Federal Bureau of Prisons'
     Inmate Financial Responsibility Program, are made to the clerk of the court.

     The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




     D     Joint and Several

           Defendant and Co-Defendant Names and Case Numbers (including defendant number), Joint and ·several Amount, and
           corresponding payee, if appropriate.




     D     The defendant shall pay the cost of prosecution.

     D     The defendant shall pay the following court cost(s):

     D     The defendant shall forfeit the defendant's interest in the following property tQ)he United States:



     Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
     (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.

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